
Freedman, J.
—The contract as to the iron soil pipe in question is to be found in the correspondence between the parties. On the trial the issue whether the pipe delivered was the pipe which the defendant had agreed to buy and the plaintiffs had agreed to sell was sharply litigated and submitted to the jury on three different theories. There was no exception to the charge and no request made to charge otherwise. Nor had the defendant asked the court to dismiss the complaint or to direct a verdict for the defendant. The jury having found a verdict in accordance with one of the theories submitted, the verdict is not open to the objection that it is excessive. Upon the whole case I fail to perceive how the verdict can be disturbed.
The judgment and order should be affirmed, with costs.
Sedgwick, Oh. J., concurs.
